Case 2:05-cr-20072-.]PI\/| Document 37 Filed 07/07/05 Pagelon Page|D 49

 

IN THE UNITED s'rA'rEs nrs'rn:cc'r comer w mr%"/‘ n`c'
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UNITED STATES OF AMERICA

Plaintiff,

v\-._r`.¢-._/-._¢~..'~_.¢~_,~._¢~__¢

vs. cR. No. 05»20063-1)
05-20072-13/

ARIANE GRANT 05-20073-D

Defendant. 05-20074-D

05-20078-D

 

oRDER oN cHANGE oF PLEA
AND SETTING

 

This cause came to be heard on July l, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Ariane Grant, appearing in person and with
counsel, Larry E. Copeland, Jr., who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l in each of the
Indictments.

Remaining Counts shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaSe is SET for MONDAY, OCTOBER 3, 2005, at
1230 P.M., in Courtroom No. 3, on the 9"h floor before Judge Bernice B.
Donald .

Defendant is allowed to remain released on present bond.

ENTERED this the th day of July, 2005.

This documententared on the docket e ti TTMS
wlth Hu|e 55 and/or 32(b) FHCrP on z

 

   

UNITED sT"RATEDISTIC COURT -WESTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:05-CR-20072 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

